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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   HOT SPRINGS DIVISION

WILLIAM GIRLINGHOUSE, et al.                                                                    PLAINTIFFS

v.                                        Case No. 6:15-cv-6008

CAPELLA HEALTHCARE, et al.                                                                   DEFENDANTS


                                     MEMORANDUM OPINION

        Before the Court is Defendants’ Motion for Summary Judgment.                         (ECF No. 47).

Plaintiffs have filed a response. (ECF No. 52). Defendants have filed a reply. (ECF No. 55).

Plaintiffs have filed a sur-reply. (ECF No. 59). Defendants have filed a response to Plaintiffs’

sur-reply. (ECF No. 61). The Court finds this matter ripe for consideration.

                                             BACKGROUND

        This case arises out of an alleged medical malpractice action. On January 27, 2013,

Plaintiff William Girlinghouse (“Mr. Girlinghouse”) was admitted into National Park Medical

Center (“NPMC”) in Hot Springs, Arkansas, and was diagnosed with pancreatitis. On January

30, 2013, while at NPMC, Mr. Girlinghouse’s oxygen saturation percentage began to decrease,

reaching a low of 83 percent. He was moved to the ICU later that evening. On January 31,

2013, Mr. Girlinghouse’s oxygenation level declined to the 60s range. He was intubated and put

on a ventilator. On February 12, 2013, he was extubated. At this time, Dr. Donald Brady found

that Mr. Girlinghouse had “mild to moderate” delirium and had suffered a hypoxic-ischemic

insult with acute respiratory failure. 1 On February 20, 2013, he was moved out of ICU and was

discharged to inpatient rehabilitation on February 26, 2013.


1
  Dr. Brady defined hypoxic-ischemic insult as “an episode or a problem with significant hypoxia, problems with
somebody’s breathing . . . [where] they become severely hypoxic and need to be on the ventilator or something of
that sort.” (ECF No. 47-5, at 23:12 – 23:18).
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        On January 28, 2015, Plaintiffs William Girlinghouse and Toni Girlinghouse filed this

this lawsuit against Defendants Capella Healthcare, Inc. and NPMC Holdings, LLC, 2 alleging

that the NPMC nursing staff did not adequately respond to Mr. Girlinghouse’s decreased

oxygenation levels and refused to call his physician to address the problem. Plaintiffs argue that

if NPMC medical staff had intervened and intubated Mr. Girlinghouse before January 31, 2013,

he would not have suffered hypoxic ischemic encephalopathy, 3 causing permanent brain

damage. Plaintiffs allege that Defendants’ negligence caused severe injury that has resulted in

past and future mental anguish, permanent physical impairment, medical expenses, life care

expenses, lost earnings, and loss of earnings capacity. Plaintiff Toni Girlinghouse also seeks

damages for loss of consortium.            Defendants have filed the present Motion for Summary

Judgment, arguing that there is no genuine dispute as to any material fact and that they are

entitled to judgment as a matter of law.

                                        STANDARD OF REVIEW

        The standard of review for summary judgment is well established. When a party moves

for summary judgment, “[t]he court shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact, and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a); see also Krenik v. County of LeSueur, 47 F.3d 953, 957

(8th Cir. 1995). This is a “threshold inquiry of . . . whether there is a need for trial—whether, in

other words, there are genuine factual issues that properly can be resolved only by a finder of

fact because they reasonably may be resolved in favor of either party.” Anderson v. Liberty



2
  Plaintiffs also named Hot Springs National Park Hospital Holdings, LLC as a defendant in their Complaint, but
later moved to voluntarily dismiss the party. (ECF No. 5). This Court dismissed Hot Springs National Park
Hospital Holdings, LLC without prejudice on March 20, 2015. (ECF No. 6).
3
 Hypoxic encephalopathy refers to a lack of oxygen to the entire brain, which typically results in brain damage. 3
Laith Farid Gulli & Alfredo Mori, The Gale Encyclopedia of Medicine 1743 (5th ed. 2015).

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Lobby, Inc., 477 U.S. 242, 250 (1986); see also Agristor Leasing v. Farrow, 826 F.2d 732, 734

(8th Cir. 1987). A fact is material only when its resolution affects the outcome of the case.

Anderson, 477 U.S. at 248. A dispute is genuine if the evidence is such that it could cause a

reasonable jury to return a verdict for either party. Id. at 252.

       In deciding a motion for summary judgment, the Court must consider all the evidence

and all reasonable inferences that arise from the evidence in a light most favorable to the

nonmoving party. See Nitsche v. CEO of Osage Valley Elec. Co-Op, 446 F.3d 841, 845 (8th Cir.

2006). The moving party bears the burden of showing that there is no genuine issue of material

fact and that it is entitled to judgment as a matter of law. See Enterprise Bank v. Magna Bank,

92 F.3d 743, 747 (8th Cir. 1996). The nonmoving party must then demonstrate the existence of

specific facts in the record that create a genuine issue for trial. Krenik, 47 F.3d at 957. Genuine

issues of material fact exist when “there is sufficient evidence favoring the nonmoving party for

a jury to return a verdict for that party.” Anderson, 47 U.S. at 249. A party opposing a properly

supported motion for summary judgment “may not rest upon mere allegations or denials . . . but

must set forth specific facts showing that there is a genuine issue for trial.” Id. at 256.

                                           DISCUSSION

       Plaintiffs allege Mr. Girlinghouse suffered injury as the proximate result of improper

medical care provided by NPMC. Specifically, Plaintiffs allege NPMC’s nursing staff failed to

adequately respond to Mr. Girlinghouse’s decreasing oxygenation levels and refused to call Mr.

Girlinghouse’s physician to address the issue. Defendants argue that, without expert testimony

to support these allegations as required by Arkansas law, Plaintiffs’ claim fails to set forth a

viable cause of action.




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            In a suit based on diversity of citizenship jurisdiction, federal courts apply federal law to

matters of procedure and the substantive law of the relevant state. Hiatt v. Mazda Motor Corp.,

75 F.3d 1252, 1255 (8th Cir. 1996) (citing Erie R.R. Co. v. Tompkins, 304 U.S. 64 (1938)). In

this case, Arkansas is the forum state and the alleged conduct happened in Hot Springs,

Arkansas. Therefore, the substantive law of Arkansas applies. Under the requirements of Ark.

Code Ann. § 16-144-206(a), the plaintiff in a medical malpractice action must prove “the

applicable standard of care; that the medical provider failed to act in accordance with that

standard; and that such failure was a proximate cause of the plaintiff’s injuries.” Ford v. St. Paul

Fire & Marine Ins. Co., 339 Ark. 434, 437, 5 S.W.3d 460, 462 (1992). Regarding the third

requirement, this statute imposes the “traditional tort standard of requiring proof that ‘but for’ the

tortfeasor’s negligence, the plaintiff’s injury or death would not have occurred.” Id., 5 S.W.3d at

462-63.

            Medical malpractice plaintiffs must present proof on the issue of proximate causation in

the form of opinion testimony from a qualified medical expert. Ark. Code Ann. § 16-144-

206(a)(3); Ford, 339 Ark. at 437, 5 S.W.3d at 463. It is insufficient for an expert to merely

opine that negligence was the proximate cause of the injury. Ford, 339 Ark. at 437, 5 S.W.3d at

463. The expert’s opinion must be stated with a reasonable degree of medical certainty or

probability.        Id.    Defendants argue that summary judgment is proper in this case because

Plaintiffs have failed to establish the essential proximate cause element through expert

testimony.

            Plaintiffs offered three experts on the issue of proximate causation: Dr. Donald Brady, a

treating neurologist; Dorothy Cooke, RN (“Nurse Cooke”); and Toni Girlinghouse, RN. 4 Dr.

Brady expected to testify “that the negligence described by Toni Girlinghouse and delays in
4
    Toni Girlinghouse is also a plaintiff in this case.

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addressing [Mr.] Girlinghouse’s decompensation on the day in question resulted in a permanent

brain injury.” (ECF No. 47-4). Dr. Brady was deposed on May 20, 2016, where he stated that

Mr. Girlinghouse’s oxygenation saturation percentage never dropped low enough on January 30,

2013 to cause hypoxic ischemic encephalopathy.         He also testified that he believes Mr.

Girlinghouse suffered a brain injury on January 31, 2013, and that the brain injury was

multifactorial, with factors including hypoxic-ischemic insult, renal insufficiency, prolonged

sedation, acute narcotic withdrawal, alcohol withdrawal, environmental factors, sepsis, and

multi-organ insult. Defendants argue that Dr. Brady’s testimony is insufficient to establish the

proximate-cause element of Plaintiffs’ prima facie case.      The Court agrees.     Dr. Brady’s

testimony did not conclusively state that Mr. Girlinghouse’s injuries were proximately caused by

the acts or omissions of NPMC’s nursing staff. Accordingly, the Court finds Dr. Brady’s

testimony insufficient to prove proximate cause.

       The Court finds that the only remaining expert opinions offered by Plaintiffs on

proximate cause are those of Nurse Cooke and Toni Girlinghouse. Plaintiffs initially designated

Nurse Cooke to testify as to the applicable nursing standard of care. Nurse Cooke’s expert

disclosure report and deposition focused on the nursing standard of care, featuring no opinions

on proximate cause. On August 27, 2016, Plaintiffs offered an affidavit from Nurse Cooke in

which she opined that Mr. Girlinghouse’s brain injury was proximately caused by the nursing

care he received while at NPMC.

       Plaintiffs designated Toni Girlinghouse as an expert on the applicable nursing standard of

care. On August 27, 2016, Plaintiffs offered an affidavit from Toni Girlinghouse, in which she

opined that Mr. Girlinghouse’s brain injury was proximately caused by the nursing care he

received while at NPMC.



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         Defendants argue that the August 27, 2016 affidavits from Nurse Cooke and Toni

Girlinghouse, in which they opine on proximate cause, were untimely disclosed and, under

federal law, should not be considered. Defendants argue in the alternative that if the affidavits

are considered, they are insufficient to satisfy the proximate-cause element because, under

Arkansas law, nurses are unqualified to opine on proximate cause. The Court now turns its

analysis to whether the two August 27, 2016 affidavits should be considered.

         A. Exclusion of Post-Deposition Affidavits

         Defendants argue that the August 27, 2016 affidavits of Nurse Cooke and Toni

Girlinghouse should not be considered because they were untimely disclosed. For the reasons

that follow, the Court agrees.

         During discovery, parties must disclose all expert witnesses expected to be called at trial.

Fed. R. Civ. P. 26(a)(2)(A). For retained expert witnesses, parties must also provide a written

report stating, inter alia, a “complete statement” of all of the expert’s opinions and the basis for

them. Fed. R. Civ. P. 26(a)(2)(B). 5 Rule 26(e) does not authorize the practice of disclosing

some expert opinions at the deadline and, only later, conducting discovery in hopes of adding

additional opinions. See Chapman v. Labone, 460 F. Supp. 2d 989, 998 (S.D. Iowa 2006)

(striking portions of an affidavit offered in resistance to a summary judgment motion because

they contained new expert opinions not addressed in the expert’s report). If a party “fails to

provide information or identify a witness as required by Rule 26(a) or (e), the party is not

allowed to use that information or witness to supply evidence on a motion, at a hearing, or at a

trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).

         A post-deposition affidavit to contradict prior testimony in an attempt to create an issue


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 A written report is not required for non-retained expert witnesses, but parties must nonetheless disclose all of the
non-retained expert’s opinions. Fed. R. Civ. P. 26(a)(2)(C)(ii).

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of fact is not permissible. Taylor v. Cottrell, Inc., 795 F.3d 813, 818 (8th Cir. 2015). However,

an affidavit may be submitted to clarify ambiguities or confusion in prior deposition testimony.

See City of St. Joseph, Mo. v. Sw. Bell Tel., 439 F.3d 468, 476 (8th Cir. 2006).

       In addressing a late disclosure, the Court has wide discretion to fashion an appropriate

remedy. Wegener v. Johnson, 527 F.3d 687, 692 (8th Cir. 2008). When fashioning a remedy,

the district court should consider, inter alia, the reason for noncompliance, the surprise and

prejudice to the opposing party, the extent to which allowing the information or testimony would

disrupt the order and efficiency of the trial, and the importance of the information or testimony.

Sellers v. Mineta, 350 F.3d 706, 711-12 (8th Cir. 2003); see also Marti v. City of Maplewood, 57

F.3d 680, 683 (8th Cir. 1995) (setting forth a variety of possibly relevant factors).

       The Eighth Circuit instructs that the Court’s discretion narrows as the severity of the

sanction increases. See Heartland Bank v. Heartland Home Fin., Inc., 335 F.3d 810, 817 (8th

Cir. 2003) (stating where exclusion of evidence was tantamount to dismissal of claims, the

district court should have considered lesser sanctions); Laclede Gas Co. v. G.W. Warnecke

Corp., 604 F.2d 561, 565-66 (8th Cir. 1979) (holding drastic sanctions, such as dismissal, require

a finding of willfulness, bad faith, or fault on the part of the noncompliant party). Though

“[e]xclusion of evidence is a harsh penalty and should be used sparingly,” it is within the bounds

of the Court’s discretion in appropriate cases. ELCA Enters. v. Sisco Equip. Rental & Sales, 53

F.3d 186, 190 (8th Cir. 1995).

       1. Nurse Cooke’s August 27, 2016 Affidavit

       In this case, Nurse Cooke was only initially offered as an expert witness on the standard

of care. Nurse Cooke’s expert witness report opined on the nursing standard of care, making no

mention of proximate causation. Likewise, Nurse Cooke offered no opinions on proximate



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causation in her May 16, 2016 deposition.6 According to the Court’s case schedule for this

matter, expert disclosures were due on May 2, 2016; rebuttal disclosures were due on June 17,

2016; and the discovery deadline was set for August 1, 2016. On August 27, 2016, Plaintiffs

offered an affidavit by Nurse Cooke in which she, for the first time, gave an opinion on

proximate causation.

        Defendants argue that Plaintiffs failed to make complete and timely expert witness

disclosures pursuant to Rule 26(a)(2)(B) due to the fact that Nurse Cooke’s expert-witness

designation, expert-witness report, and deposition made no mention of her intent to offer an

opinion on proximate causation. Nurse Cooke did not offer such an opinion until nearly four

months after the deadline for expert disclosures, nearly a month after the close of discovery, and

after Defendants filed the present Motion for Summary Judgment. Thus, the Court finds that

Plaintiffs failed to make full and timely expert-witness disclosures. See Trost v. Trek Bicycle

Corp., 162 F.3d 1004, 1008 (8th Cir. 1998).                  The Court’s analysis now turns to whether

Plaintiff’s untimely disclosure was harmless or substantially justified, thus precluding its

exclusion.

        Plaintiffs argue in their sur-reply that supplementing an expert opinion via Nurse Cooke’s

affidavit was necessary because “critical evidence was not revealed until after the Cooke

deposition when Dr. Shah was deposed.” 7 (ECF No. 59). However, Plaintiffs did not explain


6
  In the May 16 deposition, defense counsel asked Nurse Cooke if she planned to give an opinion on causation, to
which she responded, “[i]t depends on if I’m asked. Generally, I’m not asked that question. . . . Registered nurses
typically can’t comment on causation. And I don’t know how it varies from court to court.” Defense counsel
responded that Arkansas does not allow nurses to comment on causation, and that they would skip that topic. (ECF
No. 47-3, at 123:17 – 124:9).
7
  Dr. Siddarth Shah, a pulmonologist who treated Mr. Girlinghouse during the events in issue, was named by
Plaintiffs as a non-retained pulmonology expert, and was deposed on May 21, 2016. He testified that he
appropriately intervened in Mr. Girlinghouse’s care on January 30, 2013, and that he could not conclusively say that
a “better outcome” would have occurred if he had acted sooner than he did.


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what critical evidence was revealed, or why Cooke’s affidavit is necessary. Plaintiffs argue

further that “it will not work an injustice to Defendant for this evidence to be considered and no

continuance would be necessary.               However, if the evidence is stricken, it would work a

substantial injustice to Plaintiffs and lead to an unjust result based on procedure rather than

merit.” (ECF No. 59). Defendants maintain that consideration of this new opinion would

significantly prejudice them in preparing for trial, as it would require that additional depositions

be taken, expert witness rebuttal reports be issued, and could require Daubert challenges. 8 (ECF.

No. 55).

           Dr. Shah was deposed on May 21, 2016. The deadline for rebuttal disclosures fell on

June 17, 2016. Rather than provide Nurse Cooke with Dr. Shah’s deposition testimony soon

after his deposition so that she could produce a supplementary affidavit before the June 17, 2016

deadline, Plaintiffs did not file the affidavit until August 27, 2016, after Defendants moved for

summary judgment. This disclosure came well after the close of all relevant discovery deadlines,

and roughly two months before this case’s trial date of October 24, 2016. Plaintiffs did not file a

motion to extend the deadline to include new information or supplement expert reports. Cooke’s

post-discovery affidavit did not state she was clarifying her initial opinions. In fact, because her

initial report did not contain the proximate-cause opinion expressed in the subsequent affidavit,

there was no opinion that was necessary to explain.

           The Court finds that the surprise and prejudice to the opposing party is significant, and

that allowing the information or testimony would disrupt the order and efficiency of the trial.

See Trost, 162 F.3d at 1008 (finding significant prejudice to defendant and disruption to the

district court’s schedule where late disclosure of an expert’s affidavit occurred on November 18

and trial was set for January). As stated, trial in this matter is set for October 24, 2016, which
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    This case’s deadline for Daubert challenges passed on September 26, 2016.

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 would leave Defendants with little time to prepare. Keeping in mind that the exclusion of

 evidence is an extreme sanction, the Court finds that the exclusion of Nurse Cooke’s August 27,

 2016 affidavit is warranted.

        2. Toni Girlinghouse’s August 27, 2016 Affidavit

        The same analysis set out above also applies to Toni Girlinghouse’s August 27, 2016

 affidavit. Plaintiffs designated Toni Girlinghouse as an expert on the nursing standard of care,

 with no mention of proximate cause. It was not until after the close of all witness-disclosure

 deadlines and discovery that Plaintiffs produced the affidavit of Toni Girlinghouse in which she,

 for the first time, opined on proximate cause. Plaintiffs do not appear to dispute that this post-

 discovery affidavit was untimely disclosed.      As such, the Court finds that this constituted

 untimely disclosure and, for the same reasons set out above, the late disclosure was not harmless

 and was substantially prejudicial to Defendants. Keeping in mind that the exclusion of evidence

 is an extreme sanction, the Court finds that exclusion of Toni Girlinghouse’s August 27, 2016

 affidavit is warranted.

        B. Nurses’ Expert Witness Opinions on Proximate Cause in Arkansas

        Assuming arguendo that exclusion of Nurse Cooke and Toni Girlinghouse’s August 27,

 2016 affidavits is improper, the Court must decide whether the affidavits are sufficient to satisfy

 Plaintiffs’ burden under Arkansas law to prove proximate cause through expert testimony.

 Plaintiffs argue that the testimony of a Registered Nurse (“RN”) is sufficient to support

 proximate causation. Defendants argue that under Arkansas law, RNs are unqualified to give

 opinions on proximate cause in medical malpractice cases.

        Medical malpractice plaintiffs in Arkansas must present proof on the issue of proximate

 causation in the form of opinion testimony from a qualified medical expert. Ark. Code Ann. §



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 16-144-206(a)(3); Ford v. St. Paul Fire & Marine Ins. Co., 339 Ark. 434, 437, 5 S.W.3d 460,

 463 (1992). It is insufficient for an expert to merely opine that negligence was the proximate

 cause of the injury. Ford, 339 Ark. at 437, 5 S.W.3d at 463. The expert’s opinion must be stated

 with a reasonable degree of medical certainty or probability. Id.

        Plaintiffs argue in their Brief in Support of Plaintiffs’ Opposition to Defendants’ Motion

 for Summary Judgment that “[t]he testimony of a Registered Nurse is sufficient to support

 proximate causation in a medical malpractice case.” (ECF No. 53). Plaintiffs rely on Rose Care,

 Inc. v. Ross, a 2005 opinion where the Arkansas Court of Appeals affirmed a medical

 malpractice jury verdict, stating, “Brown’s [RN] opinions, in their entirety, contain substantial

 evidence from which the jury could have fairly inferred a causal link between Rose Care’s

 conduct and Mrs. Givens’s injuries.” 91 Ark. App. 187, 202, 209 S.W.3d 393, 402 (2005).

        The Court finds that Rose is distinguishable from the instant case because the Rose

 appeals court was not confronted with the issue of whether the nurse was qualified to opine on

 proximate cause. In fact, the appeals court noted specifically that the appellant did not raise the

 issue of qualification, instead appealing solely on the basis that there was insufficient evidence

 regarding proximate cause. Rose, 91 Ark. App. at 201, 209 S.W.3d at 401. Looking solely at the

 sufficiency of the evidence, the Rose court found that the nurse’s testimony presented sufficient

 evidence on proximate cause. Id. at 202, 209 S.W.3d at 402. Here, Defendants specifically

 argue that Nurse Cooke and Toni Girlinghouse, both nurses, are unqualified to offer an opinion

 on proximate cause.

        Defendants’ reply brief (ECF No. 55) points the Court to Carter v. St. Vincent Infirmary

 and Neal v. Sparks Regional Medical Center.          In Carter, the Arkansas Court of Appeals

 addressed the plaintiff’s appeal of a medical malpractice jury verdict, specifically addressing



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 whether the trial court erred in excluding the rebuttal testimony of an RN called by the plaintiff.

 The court noted, “Nurse Bradshaw’s testimony . . . [was] relevant admissible evidence on

 rebuttal . . . . Of course, the witness was not qualified to make a diagnosis of appellant’s injury

 and the causation thereof.” Carter v. St. Vincent Infirmary, 15 Ark. App. 169, 175, 690 S.W.2d

 741, 745 (1985).

        In Neal, the Arkansas Supreme Court affirmed the trial court’s granting summary

 judgment in favor of the defendant. Neal v. Sparks Reg’l Med. Ctr., 2012 Ark. 328, at 14, 422

 S.W.3d 116, 123. In response to the defendant’s motion for summary judgment, the Neal

 plaintiff attempted to meet the evidentiary burden on causation by offering the deposition

 testimony of two doctors and the affidavit of a nurse. Id. at *4, 422 S.W.3d at 119. The trial

 court determined that the two doctors did not opine that the decedent’s death was proximately

 caused by any actions of the defendant’s employees. Id. Thus, the trial court determined that the

 nurse’s affidavit was the only evidence offering an opinion on proximate causation. Id. at *5,

 422 S.W.3d at 119. The trial court granted summary judgment on the basis that the plaintiff

 failed to meet the burden of proof, stating that “[a]lthough a nurse may be an expert witness as to

 the standard of care for other nurses, it is not proper for a nurse to offer testimony on the issue of

 proximate causation as this is outside the area of their expertise.” Id. The high court affirmed,

 noting in a footnote the trial court’s statement regarding nurses, and finding that the plaintiffs

 failed to meet their evidentiary burden regarding proximate cause. Id. at *10-11, 422 S.W.3d at

 122.

        The Court finds the facts of the instant case are similar to those of Neal. Like in Neal,

 Plaintiffs in this case designated a doctor as an expert, and the doctor gave testimony in which he

 did not conclusively state that Mr. Girlinghouse’s injuries were proximately caused by acts or



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 omissions of NPMC’s nurses. In response to Defendants’ summary judgment motion, Plaintiffs

 offered the affidavits of two nurses, both opining on proximate cause. The Court finds that under

 Arkansas law, RNs are unqualified to offer such opinions. Plaintiffs have offered no qualified

 expert testimony on the issue of proximate cause, and thus have not set forth a viable cause of

 action under Arkansas law. Defendants are therefore entitled to summary judgment as a matter

 of law.

           For the reasons stated above, the Court finds that Defendants’ Motion for Summary

 Judgment (ECF No. 47) should be and hereby is GRANTED.                Plaintiffs’ case is hereby

 DISMISSED WITH PREJUDICE. A separate Judgment consistent with this Opinion will be

 entered.

           IT IS SO ORDERED, this 28th day of September, 2016.


                                                            /s/ Susan O. Hickey
                                                            Susan O. Hickey
                                                            United States District Judge




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